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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF ALASKA


 THE UNITED STATES OF AMERICA,

                        Plaintiff,
        v.

 THE STATE OF ALASKA, THE ALASKA                   Case No. 1:22-cv-00054-SLG
 DEPARTMENT OF FISH & GAME, and
 DOUG VINCENT-LANG, in his official
 capacity as Commissioner of the Alaska
 Department of Fish & Game,

                        Defendants,



                       REPLY IN SUPPORT OF
      PLAINTIFF’S MOTION FOR TEMPORARY RESTRAINING ORDER

                                      INTRODUCTION

       A temporary restraining order is needed to prevent the State of Alaska from


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allowing gillnet fishing by all Alaskans on the Kuskokwim River within the Yukon Delta

National Wildlife Refuge (the “Refuge”). Without an injunction, the fishing Alaska

purports to authorize will further deplete Chinook and chum salmon runs and deprive

rural subsistence communities from fulfilling their subsistence needs, despite their

priority status under federal law.

       The State largely complains that it was not sued earlier, but neither disputes

Plaintiff’s presentation of the factual background nor the bedrock legal principle that a

federal agency’s application of federal law prevails over a contradictory state action.

Rather than address these salient issues, Defendants offer an internally contradictory

array of observations intended to emphasize the State’s alleged role as the primary

regulatory authority for fisheries in navigable waters within the Refuge. But Defendants

fail entirely to address the established body of law making clear that Title VIII of the

Alaska National Interest Lands Conservation Act, 16 U.S.C. §§ 3111-3126 (“ANILCA”),

creates a rural subsistence priority implemented by federal authorities. The challenged

State actions create a likelihood of irreparable injury to Plaintiff’s interests, the

sustenance and cultural identity of Kuskokwim area rural residents, and depleted or

further declining fisheries. The Court should enter immediate injunctive relief to stem

this unfortunate and unlawful state of affairs pending the further disposition of

proceedings in this action.

                                        ARGUMENT

       Plaintiff has demonstrated that it is likely to prevail on the merits, that irreparable


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injury is likely, and that the equities and public interest favor injunctive relief.

       A.     Plaintiff is Likely to Prevail on the Merits

       Plaintiff demonstrates a strong likelihood of success on the merits. Tellingly, the

State does not address any of the cases cited in Plaintiff’s opening brief. These cases

make clear that federal law preempts contradictory state action, and particularly so in the

context of ANILCA Title VIII.

       The State suggests that in future briefing it will raise “a variety of reasons to doubt

that the [Federal Subsistence Board (“FSB”)] orders are valid,” such as questioning the

existence or scope of FSB delegation of authority to the Refuge Manager, or whether the

orders are based upon sufficient data or analysis. Opp’n to Mot. for Restraining Order

19, n.74, ECF No. 9 (“Defs.’ Opp’n”). But the State has notably declined to make those

arguments here, and has thus waived them for purposes of Plaintiffs’ TRO motion. This

Court, moreover, has previously rejected the State’s theories about the existence and

scope of FSB’s regulatory authority or its ability to delegate authority to federal in-season

managers. See Dep’t of Fish & Game v. Fed. Subsistence Bd., 501 F. Supp. 3d 671 (D.

Alaska 2020). More fundamentally, however, the State’s anticipated arguments are

improper because the State may not circumvent the Administrative Procedure Act

(“APA”) judicial review provisions by questioning the basis for federal regulation in the

context of its defense to a preemption challenge. If the State considers the FSB orders to

be invalid, it may seek judicial review of those orders under the APA, 5 U.S.C. §§ 701-

706, as it has done in the past. See id. Insofar as the State would prefer for this Court to


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review de novo the data and analysis underlying the federal closure order for 2022, that

form of review is foreclosed by the APA. See Citizens to Pres. Overton Park, Inc. v.

Volpe, 401 U.S. 402, 415 (1971) (holding that de novo review to determine whether an

agency decision was “unwarranted by the facts” is available only in two narrow

circumstances, neither of which is presented here); see also Dep’t of Fish & Game v. Fed.

Subsistence Bd., No. 3:20-CV-00195-SLG, 2021 WL 5756381, at *12 (D. Alaska Dec. 3,

2021) (finding substantial evidence after examining the administrative record to support

FSB’s federal closure order).

       The State next posits that FSB’s authority to implement the federal subsistence

priority in ANILCA Title VIII on the Kuskokwim River is “far from clear in the wake of

Sturgeon v. Frost, 139 S. Ct. [1066] (2019).” Defs.’ Opp’n at 19, n.74. In fact, the Ninth

Circuit has clearly identified the scope of FSB’s regulatory authority in a series of cases

known as the Katie John trilogy, and the Supreme Court in Sturgeon expressly declined

to upset those authorities.

       The Katie John trilogy consists of three Ninth Circuit decisions considering

whether navigable waters are “public lands” in addressing the ANILCA Title VIII

subsistence use priority. See Alaska v. Babbitt (Katie John I), 72 F.3d 698 (9th Cir.

1995), cert. dismissed, 516 U.S. 1036, and cert. denied, 517 U.S. 1187 (1996), adhered to

sub nom. John v. United States (Katie John II), 247 F.3d 1032 (9th Cir. 2001) (en banc);

John v. United States (Katie John III), 720 F.3d 1214 (9th Cir. 2013), cert. denied sub

nom. Alaska v. Jewell, 572 U.S. 1042 (2014). In significant part, the Trilogy confirmed


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that federal reserved water rights in conservation system units bring affected waters

within the definition of “public lands” for purposes of Title VIII. See Katie John I, 72

F.3d at 702-04.

       A few years thereafter, the Supreme Court in Sturgeon held that federal reserved

water rights do not similarly bring affected waters within the definition of “public lands”

for other purposes in ANILCA, and thus concluded that the National Park Service lacked

authority to regulate hovercraft use on the Nation River within the Yukon-Charley

Preserve. See Sturgeon, 139 S. Ct. at 1079-81. The Court found that a federal reserved

water right provides only a “limited” interest in fulfilling the purposes of the reservation,

and “does not give the Government plenary authority over the waterway to which it

attaches.” Id. at 1079. Yet the Court did not extend that holding to subsistence use under

Title VIII, and it acknowledged the continuing validity of the Trilogy’s holding “that the

term ‘public lands,’ when used in ANILCA’s subsistence-fishing provisions,

encompasses navigable waters like the Nation River.” Id. at 1080 n.2.

       The State, in short, has not reasonably explained why its orders can stand in the

face of contrary federal orders issued pursuant to ANILCA Title VIII. Plaintiff,

therefore, is likely to prevail on the merits.

       B.     Plaintiff Shows a Sufficient Likelihood of Irreparable Injury

       Plaintiff has not only shown that the State’s orders are unlawful, but that their

implementation would likely result in needless irreparable injury that could be avoided

through an injunction.


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          Defendants fail to address Plaintiff’s primary claim of irreparable injury – that the

State’s actions intrude upon the FSB’s implementation of the federal subsistence priority

and infringe upon rural residents’ subsistence values and cultural identity. See Pl’s. Mot.

for Prelim. Inj. and Combined Mem. in Supp. 18, ECF No. 5 (“Pl’s. Mem”). The proper

analysis does not focus on whether early June gillnets are more likely to catch salmon or

whitefish, or the specific numbers of each species that might be caught. Instead, in a time

of undisputed conservation concern, the FSB is empowered to determine whether harvest

is justifiable, and if so, whether it must be restricted to federally qualified users. In

making this determination, the FSB must decide whether there is a tolerable level of

intrusion upon rural Alaskans’ subsistence lifestyle and cultural identity. Irreparable

harm can occur through a regulation that “attack[s] the way [rural Alaskans] put food in

[their] families’ stomachs[.]” Native Vill. of Quinhagak v. United States, 35 F.3d 388,

394 (9th Cir. 1994); see also United States v. Alexander, 938 F.2d 942, 945 (9th Cir.

1991) (“If [rural Alaskans’] right to fish is destroyed, so too is their traditional way of

life”).

          The State’s primary thrust in responding to the motion is to accuse Plaintiff of

delaying this action to manufacture the present circumstances and resultant need to seek

expedited relief. See Defs.’ Opp’n 12. These characterizations are unfounded.

          Plaintiff has engaged in significant efforts to conduct a reasonable dialogue with

the State. See Compl. ¶¶ 40-50, ECF No.1; Ex. 3, ECF No. 1-3. The present motion

seeks to enjoin a State Emergency Order issued on May 13, 2022. Plaintiff filed its


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complaint on May 17, and the pending motions on May 24. The State suggests that it

was somehow incumbent upon Plaintiff to initiate a civil action after the close of the

2021 fishing season, so as to get a jump on any controversy that might develop in 2022.

Defs.’ Opp’n 11-12. First, doing so would have raised issues about whether this Court

would have had jurisdiction under the State’s suggested anticipatory filing approach.

Second, Plaintiff appropriately allowed for the possibility that the State would refrain

from repeating its 2021 behavior in 2022. Plaintiff has not detrimentally slept on its

rights, but has acted appropriately and with due haste.

       The United States does not casually initiate litigation, and particularly not against

a sovereign state. So it is true that the Department of Justice sent a letter to the State on

April 6, 2022, providing notice of this action. And the parties met on April 25, 2022, to

explore the possibility of avoiding litigation. See Defs.’ Opp’n 12; Decl. of Raina Thiele

¶¶ 2-6, ECF No. 5-2. Plaintiff continued to allow for the possibility of resolution, up to

the hour of filing the pending motions. Id. ¶ 10. These efforts were calculated to avert a

crisis, not to manufacture one.

       Plaintiff reasonably waited to see if the State might reconsider its prior pattern of

behavior on the Kuskokwim River within the Refuge, especially after legal developments

in December 2021 and April 2022 solidified Plaintiff’s theory of the case. See Dep’t of

Fish & Game v. Fed. Subsistence Bd., No. 3:20-CV-00195-SLG, 2021 WL 5756381, at

*16 (D. Alaska Dec. 3, 2021) (recognizing that ANILCA “grant[s] to federal agencies the

authority to impose closures under certain circumstances” and “necessarily tolerates some


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level of federal interference with state authority”); Safari Club Int’l v. Haaland, 31 F.4th

1157, 1168-69 (9th Cir. 2022) (affirming this Court’s conclusion that ANILCA

contemplates that federal law will preempt conflicting state law). Also, factual

developments between November 2021 and April 2022 crystallized the difficult choices

in managing Kuskokwim salmon harvest, and amplified the rationale for allocating any

limited subsistence harvest to federally qualified users. See Pl’s. Mem. 6; Decl. of

Nicholas Smith ¶ 6, ECF No. 9-3 (noting that 2021 chum salmon escapement was “the

lowest on record”); Kuskokwim River Salmon Fishery Announcement #14 (November

2021) at 9 (indicating total chum salmon escapement of 6,212 against target range of

15,000-49,000), and at 12 (reporting Kuskokwim Bay commercial harvest of 5,310 chum

salmon), ECF No. 9-7; ADF&G Regional Information Report No. 3A22-02 (April 2022)

at 7 (stating that 2021 Chinook run abundance was below the range necessary to meet “at

least the lower bound” of escapement or amount necessary for subsistence), and at 8

(stating that “expectations of Chinook salmon harvestable surplus in 2022 are highly

uncertain”), ECF No. 9-5. Plaintiff appropriately tried to revisit these developments, to

see whether they might cause the State to rethink its position entering the 2022 fishing

season.

       Finally, the accusation that Plaintiff has concealed “the scientific bases for its

management decisions” from the State, Defs.’ Opp’n 13, is a red herring – management

of the Kuskokwim River fishery is a collaborative undertaking. Science is an analytical

process of inquiry, and Kuskokwim area stakeholders collectively evaluate the same


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underlying data and information, in large part based on the State’s acknowledged data

collection efforts. See e.g. Decl. of Boyd Blihovde 8-53, ECF No. 5-1 (KRITFC report).

The parties’ disagreement is not so much about “the science,” but rather their managers’

response to it based on policy considerations and perceived legal obligations. The State

bases its policy on a perceived obligation to provide subsistence harvest for all Alaskans,

irrespective of federal authorities. Compl. Ex. 3 at 21; ECF No. 1-3. This persists

despite its own Kuskokwim River Salmon Management Working Group’s request that

the State “not announce setnet and driftnet opportunities on federal waters at any time

during the 2022 fishing season the US Fish and Wildlife Service is managing the

resource, during Federal Special Action.” Decl. of Nicholas Smith ¶ 19.

       Plaintiff has shown that irreparable injury is sufficiently likely to warrant an

injunction, to prevent the State’s imminent interference with the FSB’s efforts to

effectuate the federal subsistence priority on the Kuskokwim River within the Refuge.

       C.     The Equities and Public Interest Favor Injunctive Relief

       Defendants do not respond to Plaintiff’s position that the equities and public

interest largely follow the strong policy established by ANILCA’s federal subsistence

priority. See Pl’s. Mem. 20-22. Instead, Defendants restate their misplaced allegations of

delay, and claim that one must discern particular equities or public interest in the narrow

window of a temporary restraining order. Defs.’ Opp’n 20. These arguments miss the

mark – the relevant balancing is between the FSB’s determination to prioritize

subsistence harvest by federally qualified users, and the State’s contradictory efforts to


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allow for harvest by all Alaskans. Against ANILCA’s recognized statutory priority,

Defendants now admit it would be “pure fantasy” to think that meaningful numbers of

“urban fishers” might avail themselves of any opportunity created by the State’s orders.

Id. 17. The State only questions the advisability of the FSB orders, but does not suggest a

compelling interest that counters the need to honor the federal subsistence priority

required by federal law.

                                     CONCLUSION

       Plaintiff respectfully requests that the Court grant its motion for temporary

restraining order, and enjoin the June 1 implementation of Defendants’ orders purporting

to create gillnet fishing opportunities for all Alaskans on the Kuskokwim River within the

Refuge.

Respectfully submitted,

DATED: May 28, 2022.                      TODD KIM
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                            CERTIFICATE OF SERVICE

       I hereby certify that on May 28, 2022, a copy of the foregoing was served by
electronic means on all counsel of record by the Court’s CM/ECF system.

                                   /s/ Paul A. Turcke
                                       Paul A. Turcke




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